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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Christopher James Mansoori
                                     Plaintiff,
v.                                                     Case No.: 1:22−cv−01635
                                                       Honorable Lindsay C. Jenkins
Williams, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, August 24, 2023:


        MINUTE entry before the Honorable Jeffrey T. Gilbert: The Court has reviewed
the parties' Joint Status Report filed [35] and as usual finds it to be very informative and
complete. In−person status hearing set for 9/6/23 at 10:30 a.m. in Courtroom 1386. The
Court will arrange for Mr. Mansoori to participate by telephone. The Court intends to set
many of the dates the parties have proposed, to address one or two dates about which the
Court has questions, and to address Plaintiff's request to take depositions by written
questions in several cases, presumably pursuant to Federal Rule of Civil Procedure 31,
and Defendants' objection to Plaintiff's request. Mailed notice(ber, )




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